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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

JENNIFER HARRIS,                             §
                                             §
       Plaintiffs,                           §
                                             §
vs.                                          §    Civil Action 4:21-cv-1651
                                             §
FEDEX CORPORATION,                           §    JURY DEMANDED
                                             §
       Defendants.                           §

                           PLAINTIFF’S ORIGINAL
                        COMPLAINT AND JURY DEMAND

TO THE HONORABLE COURT:

       Plaintiff Jennifer Harris presents her Complaint for unlawful discrimination

in violation of 42 U.S.C. § 1981.

                                        PARTIES

       1.     Jennifer Harris is a citizen and resident of the United States, residing

in Tarrant County, Texas.

       2.     FedEx Corporation is a domestic corporation and may be served with

process by serving its registered agent, C T Corporation System, at its registered

address, 1999 Bryan St., Suite 900, Dallas, Texas 75201-3136.

                                    JURISDICTION AND VENUE

       3.     Jurisdiction of this Court is invoked pursuant to 28 U.S.C. § 1343(a)(4)

and 28 U.S.C. § 1331.




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        4.       This is a suit authorized and instituted pursuant to the Civil Rights

Act of 1866, 42 U.S.C. § 1981 (“Section 1981”); and declaratory and injunctive relief

pursuant to 28 U.S.C. §§ 2201 and 2202.

        5.       Venue of this Court is pursuant to 28 U.S.C. § 1391(b), the judicial

district in which a substantial part of the events giving rise to this claim occurred.

                                              BACKGROUND

Foreseeability of the Problem

        6.       Discrimination and retaliation are foreseeable because employers

know that discrimination and retaliation are prevalent in the United States.

        7.       A Glassdoor survey reports that 61 percent, or about three in five U.S.

employees have witnessed or experienced discrimination in the workplace. 1

        8.       The same survey reports that 42 percent of employed adults in the

U.S. have experienced or witnessed racism in the workplace; the highest percentage

of the four countries surveyed. 2

        9.       A report noted by the EEOC states that 75 percent of employees who

spoke out against workplace mistreatment faced some form of retaliation. 3

        10.      A report by Ethics & Compliance Initiative finds that when employees

at all levels are held accountable, retaliation is not as prominent; however, the




1
  https://about-content.glassdoor.com//app/uploads/sites/2/2019/10/Glassdoor-Diversity-Survey-Supplement-1.pdf
(Last visited April 14, 2021).
2 Id.
3 https://www.eeoc.gov/select-task-force-study-harassment-workplace#_ftn65 (Citing Lilia M.

Cortina & Vicki J. Magley, Raising Voice, Risking Retaliation: Events Following Interpersonal
Mistreatment in the Workplace, 8:4 J. Occupational Health Psychol. 247, 255 (2003)).

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retaliation rate is only 16 percent when managers are held accountable compared to

approximately 40 percent when managers are not held accountable. 4

The Purpose of the Law

       11.     Foreseeability is important because the law is meant to be

preventative.

       12.     The federal anti-discrimination laws primary objectives are

prophylactic, chiefly aimed not to provide redress but to avoid harm.

       13.     Employers may be liable for punitive damages who do not make good-

faith efforts to prevent discrimination in the workplace to accomplish the objective

of motivating employers to detect and deter discrimination violations.

       14.     The right to expect that corporations hire human resources (HR)

representatives qualified to follow discrimination and retaliation laws is essential to

our community.

       15.     The right to expect that corporations will adequately train managers to

follow discrimination and retaliation law is essential to our community.

       16.     The right to expect that corporations will supervise managers to follow

discrimination and retaliation law is essential to our community.

       17.     The right to expect that corporations will prevent any form of

discrimination or retaliate against persons who report discrimination is essential to

our community.




4https://www.ethics.org/knowledge-center/increasing-employee-reporting-free-from-retaliation/ (Last
visited April 14, 2021).

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      18.    The right to expect that corporations must care about workplace laws

to protect us from damages is essential to our community.

FedEx Is Worldwide

      19.    FedEx ships and delivers packages of all shapes and sizes in the

United States and all over the world.

      20.    FedEx has offices around the world employing over 600,000 employees.

      21.    FedEx knows that discrimination and retaliation are foreseeable as

potential problems in its workplace.

FedEx’s Serious System Failure

      22.    FedEx hires HR personnel who are not qualified to follow policies

prohibiting discrimination and retaliation laws.

      23.    FedEx fails to adequately train its managers to follow policies

prohibiting discrimination and retaliation laws.

      24.    FedEx fails to supervise its managers to ensure they follow policies

prohibiting discrimination and retaliation laws.

Consequences of Failure to Enforce

      25.    Because FedEx fails to hire qualified HR personnel and adequately

train and supervise managers, the corporation discriminates and retaliates against

by first disciplining the employee because of race and then terminating the

employee after the employee reported concerns of violations.




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      26.      FedEx discriminated against and fired Jennifer Harris for opposing

discrimination in the workplace, although she was recognized as a high performer

and one of the most successful sales managers at the company.

      27.      If FedEx had evaluated Ms. Harris equally with her peers, she would

not have been terminated.

      28.      But for ignoring how Ms. Harris compared with her peers, she would

still be employed at and contributing to the success of FedEx.

      29.      Although foreseeable, FedEx failed to prevent discrimination against

Ms. Harris.

      30.      Although foreseeable, FedEx failed to prevent retaliation against Ms.

Harris when she reported discrimination.

      31.      FedEx failed to conduct a fair investigation of Ms. Harris’s complaints.

      32.      FedEx chose not to talk to all important witnesses in its investigation

of her complaints.

      33.      FedEx chose not to look at all important documents in its investigation

of her complaints.

      34.      FedEx chose not to evaluate Ms. Harris with her peers in its

investigation of her complaints.

      35.      FedEx chose not to adequately train mangers on the signs to recognize

discrimination.

      36.      FedEx chose not to adequately train mangers on the signs to recognize

retaliation.



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      37.    FedEx failed to monitor the workplace for signs of discrimination

because managers and employees did not know how to recognize and prevent

discrimination.

      38.    FedEx failed to monitor the workplace for signs of retaliation because

managers and employees did not know how to recognize and prevent retaliation.

      39.    FedEx mangers recognize discrimination if someone makes racist

comments, but managers are not adequately trained to look for signs of

discrimination absent racial comments.

      40.    FedEx chose not to adequately train managers that employees who

discriminate are not going to admit to discriminating against employees.

      41.    FedEx chose not to adequately train managers that retaliators are not

going to admit to retaliating against employees.

      42.    FedEx chose not to adequately train managers that people are afraid

to report discrimination and retaliation because the discrimination and retaliation

will only get worse.

History of Discrimination and Retaliation

      43.    Ms. Harris is not the only person to have complained of discrimination

or retaliation at FedEx.

      44.    Many other persons have complained of discrimination and retaliation

at FedEx.

      45.    FedEx does not adequately keep records of prior discrimination or

retaliation complaints.



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      46.    In continuing rather than eliminating retaliation, Ms. Harris became

the person being investigated rather than the manager being complained about.

      47.    FedEx managers ignored the signs of discrimination and retaliation

and did not respond to prevent the discrimination and retaliation.

      48.    FedEx ignored Ms. Harris’s excellent history of performance at FedEx.

      49.    Ms. Harris was promoted throughout her tenure at FedEx until FedEx

placed Michelle Lamb as Ms. Harris’s manager.

      50.    FedEx ignored Ms. Lamb’s completely different attitude about Ms.

Harris from other managers.

      51.    Ms. Lamb ignored Ms. Harris’s performance, and treated her

differently than other employees who were not African American, asking her to step

down to a lower position because she was “so good” at what she was doing.

      52.    When Ms. Harris declined to be demoted, the negative treatment

escalated, and Ms. Lamb removed some of Ms. Harris’s commissions.

      53.    When Ms. Harris complained to HR about the discriminatory

treatment, HR began to retaliate.

      54.    FedEx refused to protect Ms. Harris from retaliation during the

investigation; instead, she became the target of both HR and management for

adverse actions.

Policies Do Not Enforce Themselves

      55.    FedEx has written polices created for the purpose of following laws

against discrimination and retaliation.



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      56.    FedEx knows that the written polices do not enforce themselves.

      57.    FedEx’s policies promised to protect Ms. Harris from discrimination

and retaliation.

      58.    FedEx violated its own policies by discriminating and retaliating

against Ms. Harris.

      59.    FedEx breached its promise to protect Ms. Harris from discrimination

and retaliation.

      60.    FedEx refused to examine records of Ms. Harris’s evaluations as

compared to other persons similarly situated to her.

      61.    FedEx refused to compare Ms. Harris’s good performance with other

persons similarly situated to her who were not African American.

Ms. Harris Was a Rising Star

      62.    Ms. Harris’s sales team was one of the top teams at FedEx nationally,

being award President’s Club.

      63.    FedEx never gave Ms. Harris a warning or performance write-up

before receiving Ms. Harris’s report of discrimination.

      64.    Ms. Harris’s team members at FedEx had not complained about her

performance or management.

      65.    Ms. Harris’s team members praised her.

      66.    FedEx gave Ms. Harris good performance evaluations before she

reported discrimination to HR.




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         67.   FedEx hired Ms. Harris in 2007 as an Account Executive – Inside

Sales, which is an entry level Inside Sales Representative.

         68.   FedEx promoted Ms. Harris to Sales Executive – Inside Sales because

of her exceptional performance.

         69.   FedEx then promoted Ms. Harris to Field Sales Account Executive,

which is an outside sales representative position.

         70.   FedEx promoted Ms. Harris again, this time to Field Sales Executive.

         71.   Then FedEx promoted Ms. Harris to Inside Sales Manager and asked

her to move to FedEx’s headquarters in Memphis, Tennessee.

         72.   FedEx then moved Ms. Harris to Houston for another promotion, to a

Business Sales Field Manager over the Houston and Atlanta areas.

         73.   FedEx next promoted Ms. Harris to District Sales Manager for Field

Sales.

         74.   Each time FedEx promoted Ms. Harris, it was because of her excellent

performance.

         75.   FedEx placed Ms. Lamb as Ms. Harris’s manager in Ms. Harris’s last

position as a District Sales Manager for Field Sales.

Bumping Up Against the Discriminatory Ceiling

         76.   Ms. Harris eventually bumped up against FedEx’s discriminatory

ceiling.

         77.   Ms. Lamb asked Ms. Harris to take a demotion on March 8, 2019.




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      78.    Ms. Lamb did make the same request to other similarly situated

persons who were not African American.

      79.    Ms. Harris reported discrimination to FedEx’s Human Resource

department on March 11, 2019.

      80.    Ms. Lamb then issued Ms. Harris a Letter of Counseling for

“unacceptable performance” on June 26, 2019, without a documented discussion as

required by FedEx’s policies.

      81.    Ms. Lamb created the alleged performance issues by sabotaging Ms.

Harris’s commission structures, even though Ms. Harris’s performance continued to

be exceptional.

      82.    On August 23, 2019, Ms. Harris reported discrimination and

retaliation again by Ms. Lamb for not assigning a customer in Ms. Harris’s district

to Ms. Harris.

      83.    Ms. Lamb then gave Ms. Harris a written warning on September 13,

2019, even though Ms. Harris was doing as well or better than her peers who also

reported to Ms. Lamb.

      84.    FedEx conducted a sham investigation of Ms. Harris’s claims and

terminated her on January 7, 2020.

FedEx Discriminated Because Of Race

      85.    Corporations must not discriminate against persons because of race.

      86.    FedEx did not evaluate Ms. Harris as the same as her peers when it

disciplined and terminated her employment.



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        87.   Ms. Harris was performing as good or better than her peers.

        88.   The difference is she is Black.

        89.   Ms. Harris and her sales team were one of the top performers and

performing teams in the company.

        90.   Ms. Harris received six promotions since she started working at FedEx

in 2007.

        91.   In 2010, Ms. Harris and her team reached the President’s Club.

        92.   Ms. Harris won the prestigious President’s Club award, ranking in the

top 6% sales at FedEx, nation-wide, in 2011.

        93.   She won the Ambassador’s Club award, ranking in the top 12% of sales

at FedEx in 2012.

        94.   In 2017, Ms. Harris and her team reached the President’s Club again.

        95.   FedEx was constantly changing Ms. Harris’s goals or moving Ms.

Harris’s accounts around so that it would negatively affect Ms. Harris’s sales.

        96.   When the discrimination began, FedEx artificially set Ms. Harris’s

quota too high based on a customer that was moved out of her district to another

district.

        97.   Even though Ms. Harris no longer had responsibility for the customer,

FedEx set her goals as though she still had responsibility for the customer.

        98.   FedEx did this intentionally make her performance look artificially

bad.




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       99.    Ms. Harris’s white supervisor, Ms. Lamb, belittled Ms. Harris to Ms.

Harris’s peers.

       100.   Although Ms. Harris was meeting all her goals, FedEx allowed Ms.

Harris’s supervisor to adjust Ms. Harris’s sales numbers and goals to negatively

impact Ms. Harris’s performance.

FedEx Retaliated for Opposing Discrimination

       101.   When Ms. Harris reported racial discrimination the Human Resource

department, the white HR advisor told Ms. Harris to not worry about it and said,

“Just go on with your job, it’ll all blow over.”

       102.   It did not all blow over.

       103.   Ms. Harris’s white supervisor began writing Ms. Harris up.

       104.   FedEx allowed Ms. Harris’s supervisor to place Ms. Harris on an

unwarranted performance improvement plan and terminate her.

       105.   When Ms. Harris went to HR, that was the nail in the coffin.

       106.   Ms. Harris was damaged severely because she lost her job, her career.

       107.   Ms. Harris had to move across the state just to find another job in her

industry, for a lower pay than what she was getting at FedEx.

                                        CAUSES OF ACTION

Section 1981 Violation

       108. Ms. Harris’s claim for recovery under Section 1981 is based upon 42

U.S.C. § 1981, which provides that all persons within the United States shall have




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the same right to make and enforce contracts and to the full and equal benefit of all

laws as is enjoyed by white citizens.

       109. This law entitles a person of color to equal opportunity and treatment

in employment.

       110. When an employer acts adversely against a person of color because of

that person’s race, the law has been violated and the person of color may file suit

and recover damages.

       111. A person is also entitled to file suit and recover damages under Section

1981 for retaliation for opposing or reporting violations of Section 1981, or for

participating in an investigation of a violation of Section 1981.

       112. Ms. Harris belongs to a protected group and was subjected to

unwelcome harassment based on her race, including a hostile work environment.

       113. FedEx knew or should have known of the harassment but took no

prompt remedial action.

       114. Ms. Harris was subjected to ridicule or insult or other improper

conduct based on Ms. Harris’s race.

       115. The harassment was constant, obscene, obnoxious, shocking to the

conscience of the ordinary person.

       116. The harassment was severe and pervasive, interfering with the terms

and conditions of her employment with FedEx.

       117. The constant harassment for over a year was severe and humiliating.




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       118. Ms. Harris escalated the hostility on at least three different occasions

and made reasonable efforts to prevent hostility.

       119. These actions over a year period leading up to and including Ms.

Harris’s termination by FedEx constitute the required adverse employment action

prohibited by Section 1981.

       120. The harassment and termination were sufficiently severe or pervasive

to alter the conditions of Ms. Harris’s employment with FedEx.

       121. The harassment was objectively and subjectively offensive.

       122. The disparaging racial treatment or other improper conduct was

unwelcomed and undesirable or offensive to Ms. Harris.

       123. The harassment of Ms. Harris altered a term, condition, or privilege of

her employment at FedEx.

       124. A reasonable person would find that the harassment created and was

abusive working environment.

       125. Employees of FedEx participated in the harassment of Ms. Harris.

       126. FedEx knew or should have known of the harassment and failed to

take prompt, remedial action to eliminate the harassment.

       127. FedEx has a pattern and practice of discriminating based on race and

retaliating against those who oppose or report discrimination.

       128. Ms. Harris opposed FedEx denying persons the “right to make”

contracts and denying the same “security of persons and property as is enjoyed by




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white citizens” in the United States as required by federal law. See 42 U.S.C. §

1981.

        129. FedEx treated Ms. Harris adversely after she opposed and reported

unlawful discrimination.

        130. FedEx engaged in material adverse actions against Ms. Harris, that

might well dissuade a reasonable person from opposing or reporting the

discrimination had they known they would face the adverse actions.

        131. The termination of Ms. Harris from FedEx materially altered her

employment, as well.

        132. FedEx violated the federal statute by intentionally discriminating and

retaliating against Ms. Harris; and, as a direct result of the discrimination and

retaliation caused damages to Ms. Harris.

        133. The liability can be either actual or constructive under the McDonnell

Douglas framework.

        134. FedEx knew or should have known that its White employees were

discriminating against African Americans and taken corrective action to prevent

the discrimination within its control.

        135. Prevention is the best tool for the elimination of harassment.

        136. FedEx did not take the steps necessary to prevent the harassment

from occurring, such as affirmatively raising the subject, expressing strong

disapproval, developing appropriate sanctions, informing employees of their right to




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raise and how to raise the issue of harassment, and developing methods to sensitize

all concerned.

Compensatory and Equitable Relief

      137.   Ms. Harris sustained damages, including lost wages and benefits,

future pecuniary losses, emotional pain, suffering, inconvenience, mental anguish,

loss of enjoyment of life, and other nonpecuniary losses for which she is entitled to

recovery under her causes of action.

      138.   Ms. Harris is also entitled to declaratory relief that a violation has

occurred.

      139.   Ms. Harris is also entitled to equitable relief in the form of

reinstatement and an injunction against future discrimination or retaliation.

Attorneys’ Fees

      140.   Ms. Harris is also entitled to attorneys’ fees, interest, and costs of court

for services rendered in this cause, including trials and appeals.

Exemplary Damages

      141.   Ms. Harris is also entitled to receive punitive damages because FedEx

engaged in a discriminatory or retaliatory practice or in discriminatory or

retaliatory practices with malice or with reckless indifference to the federally

protected rights of an aggrieved individual.

                                        JURY DEMAND

      142.   Ms. Harris request a trial by jury to the extent allowed by law.




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      WHEREFORE, Ms. Harris requests that Defendant FedEx answer and that

on final trial, Ms. Harris have judgment against Defendants for compensatory,

declaratory and equitable relief, and exemplary damages, attorneys’ and expert

fees, costs of suit, and interest as provided by law, and any further relief to which

they may be entitled.



                                                Respectfully submitted,


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